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The Honorable Paul A. Engelmayer
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Center Street, New York, NY 10007

Dear Judge Engelmayer,


I am writing this letter on behalf of Ari Teman. I have known him over the course of two years. When I had first
met him I was going through major hardships in my life, recovering from addiction and homeless, and from the
very beginning of our relationship he had always looked passed my troubled past, giving me the opportunity to
excel in the field and truly build my self esteem. During the time I worked for Mr. Teman I had the privilege of
getting to know the man. He was never anything but helpful when it came to helping me get back on track in
my life.

On many occasions I also was a part of the conversations that he had with new customers as well as old when
it came to installations and maintenance. Not once did he not do his best to accommodate the customers
preferences.

Because of Ari’s help I have a full time job and am back in good relations with my family members. Ari never
quit on me even when I lost hope in myself and had setbacks. He gave me the tools and coaching I needed.
He never judged me and always expected more for me and encouraged me to achieve it.

I am no one of remarkable consideration to have any more credibility than the next Person. I only speak on my
personal experience with Mr Teman and this is my testament to his character.



Thomas Orosz
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